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                               UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS                   2018MM 16 PM 12: 56
                                         DEL RIO DIVISION                    cLEPc. U S. DTlICT COURT
                                                                             iESTERN O1STRC(F TE,,XAS

UNITED STATES OF AMERICA                          §      Cause No.:
                                                  §
                                                  §
v.                                                §      INDICTMENT
                                                  §

                                                  §     [Vio: 8 U.S.C. § 1326(a) & (b)(1)/(2):
RAMON ROJAS-CASTANEDA                             §     Illegal Re-entry into the United States.]


                                                        DR 1 8CR097()
                                           COUNT ONE
                                  [8 U.S.C. § 1326(a) & (b)(1)I(2)}

         That on or about April 19, 2018, in the Western District of Texas, Defendant,

                                 RAMON       OJAS-CASTANEDA,

an alien, attempted to enter, entered, and was found in the United States having previously been

denied admission, excluded, deported and removed from the United States on or about October

19,2011, and that the Defendant had not received the consent ofthe Attorney General of the United

States and the Secretary of the Department of Homeland Security, to reapply for admission to the

United States, in violation of Title 8, United States Code, Section 1326(a) and (b)( 1)1(2).



                                                      ATRBILL...

                                                      FOREPERSON


JOHN F. BASH
United States Att     ey

By:
      MAT/HEW H. WATTERS
      Assistant United States Attorney
        Case 2:18-cr-00970-AM Document 7 Filed 05/16/18 Page 2 of 2




SEALED:
UNSEALED: XX

                          PERSONAL DATA SHEET
                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                            DEL RIO DIVISION

                                            DR18CRO97O
COUNTY: VAL VERDE                  USAO#: 2018R09518
DATE: MAY 16, 2018                 MAG. CT. #: DR18-3703M
AUSA: MATTHEW H. WATTERS
DEFENDANT: RAMON ROJAS-CASTANEDA
CITIZENSHIP: MEXICO
INTERPRETER NEEDED: YES            LANGUAGE: SPANISH
DEFENSE ATTORNEY: TARA ZEHNER
ADDRESS OF ATTORNEY: 20770 US 281 N #108-192, SAN ANTONIO, TEXAS 78258
DEFENDANT IS: DETAINED            DATE OF ARREST: APRIL 19, 2018
BENCH WARRANT NEEDED: NO
PROBATION OFFICER: N/A
NAME AND ADDRESS OF SURETY N/A
YOUTH CORRECTIONS ACT APPLICABLE: Q
PROSECUTION BY: INDICTMENT
OFFENSE: (CODE & DESCRIPTION): 8 U.S.C.     1326(A)(1) & (B)(1')/(2) - ILLEGAL
REENTRY AFTER DEPORTATION.
OFFENSE IS: FELONY
MAXIMUM SENTENCE: 20 YEARS IMPRISONMENT: A $250,000 FiNE;        3   YEARS OF
SUPERVISED RELEASE; AND A $100 SPECIAL ASSESSMENT.
PENALTY IS MANDATORY: YES & NO
REMARKS: SEE ABOVE
W/DT-CR-3
